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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MINNESOTA

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §              Case No: 0:21-cv-02458-SRN-DTS
                                      §
vs.                                   §              PATENT CASE
                                      §
ARKRAY USA, INC.,                     §
                                      §
      Defendant.                      §
_____________________________________ §

                             JOINT STIPULATION OF DISMISSAL

       Plaintiff Display Technologies, LLC and ARKRAY USA, Inc. by their respective

undersigned counsel, hereby STIPULATE and AGREE as follows:

       1.      All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

all claims asserted by the Defendant in this Action are dismissed without prejudice under Fed. R.

Civ. P. 41(a)(1)(A)(ii);

       2.      Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

       This Stipulation and Order shall finally resolve the Action between the parties.




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Dated: March 9, 2022.                       Respectfully submitted,

                                            Eric J. Strobel
                                            Eric J. Strobel (MN Bar No. 222434)
                                            608 E. 38th Street
                                            Sioux Falls, SD 57105
                                            651.338.7044
                                            eric@strobelconsulting.net

                                            ATTORNEYS FOR PLAINTIFF

                                            FISH & RICHARDSON P.C.

                                            By: Phillip W. Goter            .
                                            Phillip W. Goter (MN Bar No. 0392209)
                                            60 South 6th Street, Suite 3200
                                            Minneapolis, MN 55402
                                            (612) 335-5070 – Telephone
                                            (612) 288-9696 – Facsimile
                                            goter@fr.com

                                            Neil J. McNabnay
                                            Ricardo J. Bonilla
                                            Aaron P. Pirouznia
                                            1717 Main Street, Suite 5000
                                            Dallas, Texas 75201
                                            (214) 747-5070 (Telephone)
                                            (214) 747-2091 (Facsimile)
                                            mcnabnay@fr.com
                                            rbonilla@fr.com
                                            pirouznia@fr.com

                                            COUNSEL FOR DEFENDANT


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
March 9, 2022, and was served via CM/ECF on all counsel who are deemed to have consented to
electronic service.
                                             Eric J. Strobel
                                             Eric J. Strobel




JOINT STIPULATION OF DISMISSAL                                                          Page | 2
